
100 N.Y.2d 601 (2003)
RYAN BURGER et al., Plaintiffs, and RUSSELL WORON, Appellant,
v.
UNION CARBIDE CORPORATION et al., Respondents.
Court of Appeals of the State of New York.
Submitted June 2, 2003.
Decided September 9, 2003.
*602 Motion, insofar as it seeks leave to appeal from that part of the Appellate Division order that affirmed Supreme Court's dismissal of the complaint insofar as it was brought by Russell Woron, denied; motion for leave to appeal otherwise dismissed upon the ground that the remaining portion of the order sought to be appealed from does not finally determine the action within the meaning of the Constitution.
